        Case 1:21-cr-00040-TNM Document 727-1 Filed 11/03/23 Page 1 of 1



Mr. Cappuccio is claiming his PTSD is what caused him to commit crimes of violence at the United States
Capitol on January 6th, 2021. I'm curious at what point did his mental health condition allegedly take
all agency away from his rational mind: did it seize him before he drove 1,600 miles from his home in
Texas to the Capitol? Or only partway, when he stopped to buy goggles for his peaceful First
Amendment assembly? Was he in control when he trespassed onto the Capitol grounds after Trump
instructed him to march there? When he moved through the mob, pushing his way to the vanguard of
the assault, and fought to break our defences? When did he regain his senses? Was it before or after
he tried to kill me?

When Officers are trained in the use of our batons, we are repeatedly told one thing: do not aim for the
head unless you are legally justified in using lethal force. Forcefully striking someone in the head with
a solid blunt instrument has the potential to seriously injure or kill that person.

If I observed a colleague of mine holding someone down, I violently dismantled their captor's remaining
defences and then attempted to collapse their skull with a metal pole, all the while taunting my helpless
victim, I'm confident I'd be imprisoned for the at least a quarter of my life. Meanwhile, I see the
government is seeking approximately ten years for Mr. Cappuccio.

I also served in the United States Army and am currently a Police Officer. I've worked with many who
have PTSD. None have displayed the reckless disregard for life that Mr. Cappuccio did, even under
stressful conditions. Now, thanks in part to his participation in the mob that stormed the United States
Capitol, there are plenty of new cases of PTSD amongst those who fought to protect it. Some of them
are still protecting that building and its inhabitants to this day. Almost three years later now and
somehow I've yet to hear about any of them aiding an attack on government officials and Democracy.

I ask the court to take all of this into consideration when determining a just sentence for the convicted.
Thank you.



Ofc. Daniel Hodges

11/3/2023
